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               APPENDIX D
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 1   MICHAEL A. JACOBS (CA SBN 111664)
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 4   San Francisco, California 94105-2482
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 5   Facsimile:    415.268.7522

 6   KAREN L. DUNN (Pro Hac Vice)
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 7   HAMISH P.M. HUME (Pro Hac Vice)
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 8   BOIES SCHILLER FLEXNER LLP
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 9   Washington DC 20005
     Telephone:   202.237.2727
10   Facsimile:   202.237.6131

11   WILLIAM CARMODY (Pro Hac Vice)
     bcarmody@susmangodfrey.com
12   SHAWN RABIN (Pro Hac Vice)
     srabin@SusmanGodfrey.com
13   SUSMAN GODFREY LLP
     1301 Avenue of the Americas, 32nd Floor
14   New York, NY 10019-6023
     Telephone:   212.336.8330
15   Facsimile:   202.336.8340

16   Attorneys for Defendants
     UBER TECHNOLOGIES, INC.
17   and OTTOMOTTO LLC

18                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
19
                                    SAN FRANCISCO DIVISION
20

21   WAYMO LLC,                                           Case No. 3:17-cv-00939-WHA

22                          Plaintiff,                    DEFENDANTS UBER
                                                          TECHNOLOGIES, INC. AND
23          v.                                            OTTOMOTTO LLC’S SECOND
                                                          AMENDED FED. R. CIV. P. 26(A)(3)
24   UBER TECHNOLOGIES, INC.,                             WITNESS LIST
     OTTOMOTTO LLC; OTTO TRUCKING
25   LLC,                                                 Judge: The Honorable William Alsup

26                          Defendants.                   Trial Date: February 5, 2018

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     DEFENDANTS UBER AND OTTOMOTTO’S FED. R. CIV. P. 26(A)(3) WITNESS LIST
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 1          Defendants Uber Technologies, Inc. and Ottomotto LLC (“Uber”) hereby submit their

 2   witness list for trial, pursuant to Fed. R. Civ. P. 26(a)(3) and the Court’s Guidelines for Trial and

 3   Final Pretrial Conference in Civil Jury Cases.

 4          Uber identifies the name, contact information, and substance of the testimony of each

 5   witness it expects to present or may present at trial, other than solely for impeachment. Pursuant

 6   to the Court’s Guidelines, non-cumulative testimony is identified below in italics.

 7   I.     LIVE WITNESSES
 8          Uber expects to present live testimony from the following witnesses:

 9   Witness                 Contact Information                 Substance of Trial Testimony
     Boehmke, Scott          [Contact through counsel of         Mr. Boehmke is an engineering
10                                                               manager within Uber’s Advanced
                             record]
                                                                 Technologies Group, responsible for
11                                                               hardware development and application
                             Uber Technologies, Inc.             in the self-driving vehicle project. He
12                           Advanced Technologies Center        was previously a project engineer at
                             100 32nd St, Pittsburgh, PA         Carnegie Mellon where he designed
13                                                               LiDAR and Radar sensors. He may
                             15201
                                                                 testify regarding design and
14                                                               development of Defendant’s LiDAR,
                                                                 Defendant’s non-misappropriation of
15                                                               Waymo’s trade secrets; inspections
                                                                 pursuant to the Court’s provisional
16                                                               remedy order; and confirmation of the
                                                                 absence of evidence of trade secret
17                                                               misappropriation through and during
                                                                 compliance with the Court’s
18                                                               provisional remedy order.
     Epstein, Michael        Waymo LLC                           Mr. Epstein is a product manager at
19                                                               Waymo. He is expected to testify
                             1600 Amphitheatre Parkway           regarding Waymo’s decision to enter
20                           Mountain View, CA 94043             the Transportation as a Service
                                                                 (“TaaS”) market, estimates and
21                                                               forecasts of the ride-sharing market and
                                                                 Waymo’s share of the ride-sharing
22                                                               market and Waymo’s business and
                                                                 strategic plans (and plans generally)
23                                                               for the ride-sharing market, including
                                                                 projections for revenue generation and
24                                                               profitability and including TaaS, and
                                                                 competition with Uber.
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     DEFENDANTS UBER AND OTTOMOTTO’S FED. R. CIV. P. 26(A)(3) WITNESS LIST
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 1   Witness                 Contact Information                 Substance of Trial Testimony
     Faulkner, Kevin         [Contact through counsel of         Mr. Faulkner is Managing Director at
 2                           record]                             Stroz Friedberg and is an expert
                                                                 retained by Uber and Ottomotto to
 3                                                               testify regarding the forensic
                             Stroz Friedberg                     examination of Uber-issued devices and
 4                           32 Avenue of the Americas,          data and confirmation of the absence of
                             Floor 4                             evidence of trade secret
 5                           New York, NY 10013                  misappropriation through and during
                             Phone: (212) 981-6540               compliance with the Court’s
 6                                                               provisional remedy order. He will
                                                                 testify regarding the matters disclosed
 7                                                               in his expert reports of September 7,
                                                                 2017, November 17, 2017, and January
 8                                                               19, 2018*.
 9   Friedberg, Eric         Stroz Friedberg                     Mr. Friedberg is a co-founder of Stroz
                             32 Avenue of the Americas,          Friedberg and currently serves as the
10                                                               co-President. He will testify regarding
                             Floor 4
                                                                 Stroz Friedberg’s investigation and due
11                           New York, NY 10013                  diligence for Uber’s potential
                             Phone: (212) 981-6540               acquisition of Ottomotto and Otto
12                                                               Trucking, LLC, including with respect
                                                                 to the deletion of the 14,000
13                                                               downloaded files.
     Haslim, James           [Contact through counsel of         Mr. Haslim is a senior engineering
14                           record]                             manager at Uber, responsible for the
                                                                 technical development of Uber’s LiDAR
15                                                               sensors, and previously worked at Tyto.
                             Uber Technologies, Inc.             He may testify regarding design and
16                           1455 Market Street, Floor 4         development of Defendants’ LiDAR;
                             San Francisco, CA 94103             Defendants’ non-misappropriation of
17                                                               Waymo’s trade secrets; knowledge of
                                                                 Odin Wave LLC and Tyto
18                                                               LiDAR LLC; and confirmation of the
                                                                 absence of evidence of trade secret
19                                                               misappropriation through and during
                                                                 compliance with the Court’s
20                                                               provisional remedy order.
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     DEFENDANTS UBER AND OTTOMOTTO’S FED. R. CIV. P. 26(A)(3) WITNESS LIST
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 1   Witness                 Contact Information                 Substance of Trial Testimony
     Kalanick, Travis        [Contact through counsel of         Mr Kalanick is Uber’s co-founder and
 2                           record]                             former Chief Executive Officer. He
                                                                 may testify regarding Defendants’
 3                                                               business model and strategy for
                             Uber Technologies, Inc.             autonomous vehicles; Defendants’ non-
 4                           1455 Market Street, Floor 4         misappropriation of Waymo’s trade
                             San Francisco, CA 94103             secrets; Uber’s decision to acquire
 5                                                               Ottomotto; steps taken by Defendants
                                                                 to prevent trade secrets from prior
 6                                                               employers coming to Defendants;
                                                                 Defendants’ autonomous vehicle
 7                                                               program; March 11, 2016 meeting with
                                                                 Anthony Levandowski; knowledge of
 8                                                               Waymo’s discussions with Defendants
                                                                 regarding a partnership with
 9                                                               Defendants in the self-driving
                                                                 vehicle/ride-sharing space; Defendants’
10                                                               employment of Anthony Levandowski;
                                                                 and Defendants’ termination of
11                                                               Anthony Levandowski.
     Krafcik, John           Waymo LLC                           Mr. Krafcik is Waymo’s Chief
12                                                               Executive Officer. He is expected to
                             1600 Amphitheatre Parkway           testify regarding development and
13                           Mountain View, CA 94043             operation of Waymo’s autonomous
                                                                 vehicle program; Anthony
14                                                               Levandowski’s departure from Waymo;
                                                                 Waymo’s policies surrounding side
15                                                               projects and side businesses;
                                                                 knowledge of Waymo employee
16                                                               involvement in side projects and side
                                                                 businesses, including that of Anthony
17                                                               Levandowski; Waymo’s business
                                                                 plans; knowledge of discussions with
18                                                               Defendants regarding a partnership
                                                                 with Defendants in the self-driving
19                                                               vehicle/ride-sharing space; and
                                                                 knowledge of the Project Chauffeur
20                                                               bonus program.
     Lebby, Michael          [Contact through counsel of         Dr. Lebby is an expert retained by Uber
21                           record]                             and Ottomotto to testify regarding non-
                                                                 misappropriation of Waymo’s trade
22                                                               secrets. He will testify regarding the
                                                                 matters disclosed in his expert report of
23                                                               September 7, 2017.
24                           Email: lebby@usc.edu

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     DEFENDANTS UBER AND OTTOMOTTO’S FED. R. CIV. P. 26(A)(3) WITNESS LIST
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 1   Witness                 Contact Information                 Substance of Trial Testimony
     McManamon, Paul         [Contact through counsel of         Dr. McManamon is an expert retained
 2                           record]                             by Uber and Ottomotto to testify
                                                                 regarding non-misappropriation of
 3                                                               Waymo’s trade secrets. He will testify
                             University of Dayton
                             300 College Park                    regarding the matters disclosed in his
 4                                                               expert report of September 7, 2017, and
                             Fitz Hall Room 580Q
                             Dayton, OH 45469                    his declaration of April 7, 2017.
 5
                             Phone: (937) 344-3921
 6   Meyhofer, Eric          [Contact through counsel of         Mr, Meyhofer is Head of Uber’s
                             record]                             Advanced Technologies Group. He
 7                                                               may testify regarding the design and
                                                                 development of Defendants’ LiDAR;
                             Uber Technologies, Inc.             Defendants’ autonomous vehicle
 8                           Advanced Technologies Center        program; Defendants’ non-
                             100 32nd St                         misappropriation of Waymo’s trade
 9                           Pittsburgh, PA 15201                secrets; Defendants’ business model
10                                                               and strategy for autonomous vehicles;
                                                                 Uber’s decision to acquire Ottomotto;
11                                                               termination of Anthony Levandowski;
                                                                 confirmation of the absence of evidence
12                                                               of trade secret misappropriation
                                                                 through and during compliance with the
13                                                               Court’s provisional remedy order; steps
                                                                 taken by Defendants to prevent trade
14                                                               secrets from prior employers of
                                                                 Defendants’ employees coming to
15                                                               Defendants; and the use or non-use of
                                                                 ephemeral communications, non-
16                                                               attributable devices, and attorney-client
                                                                 privileged designations within Uber’s
17                                                               ATG*.
     Nestinger, Stephen      345 Digital Drive                   Mr. Nestinger is Director of
18                           Morgan Hill, CA 95037               Mechanical Engineering at Velodyne.
                             Phone: (408) 465-2800               He is expected to testify regarding the
19                                                               technologies in LiDAR sensors that
                             Contact through counsel:            Velodyne has made or sold, including
20                                                               VLP-16, HDL-32E, HDL64E, Puck Hi-
                             John V. Picone III, Esq.            Res, and Puck Lite.
21                           Hopkins & Carley
                             The Letitia Building
22                           70 South First Street
                             San Jose CA 95113
23                           Phone: (408) 286-9800
                             Email:
24                           jpicone@hopkinscarley.com

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     DEFENDANTS UBER AND OTTOMOTTO’S FED. R. CIV. P. 26(A)(3) WITNESS LIST
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 1   Witness                 Contact Information                 Substance of Trial Testimony
     Page, Larry             Alphabet Inc.                       Mr. Page is Google’s co-founder and
 2                                                               Chief Executive Office of Google’s
                             1600 Amphitheatre Parkway
                                                                 parent company, Alphabet Inc.
 3                           Mountain View, CA 94043             He is expected to testify regarding
                                                                 development and operation of
 4                                                               Waymo’s autonomous vehicle
                                                                 program; Anthony Levandowski’s
 5                                                               departure from Waymo; Waymo’s
                                                                 policies surrounding side projects and
 6                                                               side businesses; knowledge of Waymo
                                                                 employee involvement in side projects
 7                                                               and side businesses, including that of
                                                                 Anthony Levandowski; Waymo’s
 8                                                               business plans; knowledge of
                                                                 discussions with Defendants regarding
 9                                                               a partnership with Defendants in the
                                                                 self-driving vehicle/ride-sharing space;
10                                                               and knowledge of the Project Chauffeur
                                                                 bonus program, and his concerns about
11                                                               competition from Uber and Anthony
                                                                 Levandowski.
12   Poetzscher, Cam         [Contact through counsel of         Mr. Poetzscher is Uber’s Vice
                             record]                             President of Corporate Development.
13                                                               He may testify regarding Defendants’
                                                                 non-misappropriation of Waymo’s
14                           Uber Technologies, Inc.             trade secrets; business of Otto
                             1455 Market Street, Floor 4         Trucking LLC; Uber’s decision to
15                           San Francisco, CA 94103             acquire Ottomotto; Uber’s
                                                                 indemnification agreement with
16                                                               Ottomotto; Uber’s meetings with
                                                                 Anthony Levandowski, Ottomotto
17                                                               and/or Otto Trucking before April 11,
                                                                 2016; Stroz due diligence for the
18                                                               Uber/Ottomotto acquisition; and
                                                                 confirmation of the absence of evidence
19                                                               of trade secret misappropriation
                                                                 through and during compliance with the
20                                                               Court’s provisional remedy order.
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     DEFENDANTS UBER AND OTTOMOTTO’S FED. R. CIV. P. 26(A)(3) WITNESS LIST
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 1   Witness                 Contact Information                 Substance of Trial Testimony
     Ron, Lior               [Contact through counsel of         Mr. Lior is Senior Director at
 2                           record]                             OttoFreight, was a co-founder of
                                                                 Ottomotto, and previously worked at
 3                                                               Google. He may testify regarding the
                             Uber Technologies, Inc.             nature of employment at Waymo and
 4                           1455 Market Street, Floor 4         Defendants; Anthony Levandowski’s
                             San Francisco, CA 94103             departure from Waymo; Waymo’s
 5                                                               policies surrounding side projects and
                                                                 side businesses; knowledge of Waymo
 6                                                               employee involvement in side projects
                                                                 and side businesses, including that of
 7                                                               Anthony Levandowski; knowledge of
                                                                 the Project Chauffeur bonus program;
 8                                                               steps taken by Defendants to prevent
                                                                 trade secrets from prior employers of
 9                                                               Defendants’ employees coming to
                                                                 Defendants; Defendants’ non-
10                                                               misappropriation of Waymo’s trade
                                                                 secrets; formation, purpose, and
11                                                               business of Otto Trucking LLC;
                                                                 formation, purpose, and business of
12                                                               Ottomotto; Ottomotto’s decision to be
                                                                 acquired by Uber; March 11, 2016
13                                                               meeting with Anthony Levandowski;
                                                                 Stroz due diligence for the
14                                                               Uber/Ottomotto acquisition;
                                                                 confirmation of the absence of evidence
15                                                               of trade secret misappropriation
                                                                 through and during compliance with the
16                                                               Court’s provisional remedy order;
                                                                 design and development of Ottomotto’s
17                                                               LiDAR; Uber’s security group
                                                                 (including SSG, MA, and Threat
18                                                               Operations) as it relates to Uber’s
                                                                 ATG*; Uber’s competitive intelligence
19                                                               practices*; and the use or non-use of
                                                                 non-attributable devices, ephemeral
20                                                               communications, and attorney-client
                                                                 privileged designations within Uber’s
21                                                               ATG*.
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     DEFENDANTS UBER AND OTTOMOTTO’S FED. R. CIV. P. 26(A)(3) WITNESS LIST
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 1   Witness                 Contact Information                 Substance of Trial Testimony
     Sullivan, Stacy         Waymo LLC                           Ms. Sullivan is Vice President for
 2                                                               People Operations and Chief Culture
                             1600 Amphitheatre Parkway
                                                                 Officer at Google. She is expected to
 3                           Mountain View, CA 94043             testify regarding communication with
                                                                 Larry Page regarding Anthony
 4                                                               Levandowski, Mr. Levandowski’s
                                                                 alleged recruitment of Waymo
 5                                                               employees, the Chauffeur bonus plan,
                                                                 friction on the Chauffeur team, a
 6                                                               meeting with Anthony Levandowski
                                                                 and Chelsea Bailey after
 7                                                               Mr. Levandowksi left Google, the
                                                                 competition for talent, investigation (or
 8                                                               lack thereof) of personal devices of new
                                                                 Google employees, and Larry Page’s
 9                                                               concerns about competition from
                                                                 Anthony Levandowski.
10   Urmson, Chris                                               Mr. Urmson was Waymo’s former
                                                                 Chief Technology Officer. He is
11                                                               expected to testify regarding
                                                                 development and operation of
12                                                               Waymo’s autonomous vehicle
                                                                 program; Anthony Levandowski’s
13                                                               departure from Waymo; Waymo’s
                                                                 employee policies concerning
14                                                               confidential and trade secret
                                                                 information; Waymo’s policies
15                                                               surrounding side projects and side
                                                                 businesses; knowledge of Waymo
16                                                               employee involvement in side projects
                                                                 and side businesses, including that of
17                                                               Anthony Levandowski; and knowledge
                                                                 of the Project Chauffeur bonus
18                                                               program.
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     DEFENDANTS UBER AND OTTOMOTTO’S FED. R. CIV. P. 26(A)(3) WITNESS LIST
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 1    Witness                 Contact Information                 Substance of Trial Testimony
      Zbrozek, Sasha          Waymo LLC                           Mr. Zbrozek is an electrical hardware
 2                                                                engineer on Waymo’s, and before that,
                              1600 Amphitheatre Parkway
                                                                  Google’s, self-driving car project. He
 3                            Mountain View, CA 94043             is expected to testify regarding
                                                                  Waymo’s measures to protect the
 4                                                                security of Waymo’s confidential
                                                                  documents, servers, and SVN
 5                                                                repository; Waymo’s employee policies
                                                                  concerning confidential and trade secret
 6                                                                information; his development of
                                                                  instructions for logging into the SVN
 7                                                                repository and the fact that following
                                                                  his instructions downloads the entire
 8                                                                database; that the documents in that
                                                                  database are “low value” and that he
 9                                                                was concerned that the lawyers were
                                                                  ascribing suspicion to Anthony
10                                                                Levandowski’s alleged downloading;
                                                                  and his participation in Waymo’s
11                                                                forensic investigation into alleged
                                                                  misappropriation of trade secrets.
12    Clark, Craig*           Stumphauzer & Sloman                Craig Clark is a former legal director
                                                                  at Uber who worked with its security
13                            One SE Third Avenue                 team. Mr. Clark is expected to testify
                              Suite 1820                          about Uber’s security group’s practices
14                            Miami, FL 33131                     regarding non-attributable devices,
                                                                  ephemeral communications, and
15                                                                attorney-client privileged designations;
                                                                  Uber’s competitive intelligence
16                                                                practices; and relationship and
                                                                  interaction with Uber ATG.
17    Facciola, John*         Georgetown University Law           John Facciola is a professor of law at
                              Center                              Georgetown with substantial
18                                                                experience with and knowledge about
                              600 New Jersey Avenue NW            data retention who advised Uber on
19                            Washington, DC 20001                issues related to data retention. He is
                                                                  expected to testify about his
20                                                                involvement in and knowledge of
                                                                  Uber’s data retention policies and
21                                                                programs; and knowledge of best
                                                                  practices in data retention.
22    Oot, Patrick*           Shook, Hardy & Bacon                Patrick Oot is a partner at Shook
                                                                  Hardy & Bacon with substantial
23                            1155 F Street NW, Suite 200         experience with and knowledge about
                              Washington, DC 20004                data retention who advised Uber on
24                                                                issues related to data retention. He is
                                                                  expected to testify about his
25                                                                involvement in and knowledge of
                                                                  Uber’s data retention policies and
26                                                                programs; and knowledge of best
                                                                  practices in data retention.
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      DEFENDANTS UBER AND OTTOMOTTO’S FED. R. CIV. P. 26(A)(3) WITNESS LIST
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 1           Uber may present live testimony from the following witnesses:

 2    Witness                 Contact Information                 Trial Testimony
      Bailey, Chelsea         Waymo LLC                           Ms. Bailey is a human resources
 3
                              1600 Amphitheatre Parkway           business partner at Google[x]. She is
 4                            Mountain View, CA 94043             expected to testify regarding Waymo’s
                                                                  policies concerning confidential and
 5                                                                trade secret information; Waymo
                                                                  employment and compensation issues;
 6                                                                and the Project Chauffeur bonus
                                                                  program.
 7
      Bares, John             [Contact through counsel of         Mr. Bares is the former Operations
 8                            record]                             Director at Uber’s Advanced
                                                                  Technologies Group. He may testify
 9                            Uber Technologies, Inc.             regarding design and development of
                              Advanced Technologies Center        Defendants’ LiDAR; Defendants’
10                                                                autonomous vehicle program;
                              100 32nd St, Pittsburgh, PA
11                            15201                               Defendants’ non-misappropriation of
                                                                  Waymo’s trade secrets; Defendants’
12                                                                business model and strategy for
                                                                  autonomous vehicles; Uber’s decision
13                                                                to acquire Ottomotto; steps taken by
                                                                  Defendants to prevent trade secrets
14                                                                from prior employers of Defendants’
15                                                                employees coming to Defendants; and
                                                                  confirmation of the absence of
16                                                                evidence of trade secret
                                                                  misappropriation through and during
17                                                                compliance with the Court’s
                                                                  provisional remedy order.
18
      Bratic, Walter          [Contact through counsel of         Mr. Bratic is an expert retained by
19                            record]                             Uber and Ottomotto to testify
                                                                  regarding damages. He will testify
20                            OverMont                            regarding the matters disclosed in his
                              3737 Buffalo Speedway               expert report of September 7, 2017.
21                            Suite 1600
                              Houston, Texas 77098
22                            Phone: (713) 403-3307
                              Email:
23                            walter.bratic@whitleypenn.com
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      DEFENDANTS UBER AND OTTOMOTTO’S FED. R. CIV. P. 26(A)(3) WITNESS LIST
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 1    Witness                 Contact Information                 Trial Testimony
      Brin, Sergey            Alphabet Inc.                       Mr. Brin is a co-founder of Google and
 2                                                                President of Google’s parent company,
                              1600 Amphitheatre Parkway
                              Mountain View, CA 94043             Alphabet Inc. He is expected to testify
 3
                                                                  regarding development and operation
 4                                                                of Waymo’s autonomous vehicle
                                                                  program; Anthony Levandowski’s
 5                                                                departure from Waymo; Waymo’s
                                                                  policies surrounding side projects and
 6                                                                side businesses; and knowledge of
 7                                                                Waymo employee involvement in side
                                                                  projects and side businesses, including
 8                                                                that of Anthony Levandowski.
      Brown, Gary             Waymo LLC                           Mr. Brown is a Forensics Security
 9                            1600 Amphitheatre Parkway           Engineer at Google. He is expected to
                              Mountain View, CA 94043             testify about Waymo’s first awareness
10                                                                of alleged trade secret
11                                                                misappropriation; Waymo’s forensic
                                                                  investigation into alleged
12                                                                misappropriation of trade secret
                                                                  misappropriation, including the
13                                                                conclusions drawn from that
                                                                  investigation; and Waymo’s measures
14
                                                                  to protect the security of Waymo’s
15                                                                confidential documents, servers, and
                                                                  SVN repository.
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      DEFENDANTS UBER AND OTTOMOTTO’S FED. R. CIV. P. 26(A)(3) WITNESS LIST
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 1    Witness                 Contact Information                 Trial Testimony
      Burnette, Don           [Contact through counsel of         Mr. Burnette is a technical lead for
 2                            record]                             software at Uber, and previously
                                                                  worked at Google prior to co-founding
 3                                                                Otto. He may testify regarding the
                              Uber Technologies, Inc.             nature of employment at Waymo and
 4                            1455 Market Street, Floor 4         Defendants; Defendants’ non-
                              San Francisco, CA 94103             misappropriation of Waymo’s trade
 5                                                                secrets; formation, purpose, and
                                                                  business of Ottomotto; Ottomotto’s
 6                                                                decision to be acquired by Defendants;
                                                                  Development and operation of
 7                                                                Waymo’s autonomous vehicle
                                                                  program; Anthony Levandowski’s
 8                                                                departure from Waymo; Waymo’s
                                                                  policies surrounding side projects and
 9                                                                side businesses; knowledge of Waymo
                                                                  employee involvement in side projects
10                                                                and side businesses; knowledge of the
                                                                  Project Chauffeur bonus program;
11                                                                Stroz due diligence for the
                                                                  Uber/Ottomotto acquisition; and
12                                                                confirmation of the absence of
                                                                  evidence of trade secret
13                                                                misappropriation through and during
                                                                  compliance with the Court’s
14                                                                provisional remedy order.
      Chu, Dan                Waymo LLC                           Mr. Chu is Director of Product at
15                                                                Waymo. He is expected to testify
                              1600 Amphitheatre Parkway           regarding estimates and forecasts of the
16                            Mountain View, CA 94043             ride-sharing market and Waymo’s
                                                                  share of the ride-sharing market and
17                                                                Waymo’s business and strategic plans
                                                                  (and plans generally) for the ride-
18                                                                sharing market, including projections
                                                                  for revenue generation and profitability
19                                                                and including Transportation as a
                                                                  Service (TaaS), and the creation of
20                                                                documents that analyzed competition
                                                                  with Uber.
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 1    Witness                 Contact Information                 Trial Testimony
      Dolgov, Dmitri          Waymo LLC                           Mr. Dolgov is Vice President of
 2                                                                Engineering at Waymo. He is expected
                              1600 Amphitheatre Parkway
                                                                  to testify regarding design,
 3                            Mountain View, CA 94043             development, and operation of
                                                                  Waymo’s LiDAR systems, self-driving
 4                                                                car project, and purported trade secrets;
                                                                  Waymo’s employee policies
 5                                                                concerning confidential and trade
                                                                  secret information; Waymo’s policies
 6                                                                surrounding side projects and side
                                                                  businesses; knowledge of Waymo
 7                                                                employee involvement in side projects
                                                                  and side businesses, including that of
 8                                                                Anthony Levandowski; and knowledge
                                                                  of the Project Chauffeur bonus
 9                                                                program.
      Droz, Pierre-Yves       Waymo LLC                           Mr. Droz is Principal Hardware
10                                                                Engineer at Waymo, serving as
                              1600 Amphitheatre Parkway           technical lead on Waymo’s LiDAR
11                            Mountain View, CA 94043             project since its inception. He is
                                                                  expected to testify about Waymo’s
12                                                                employee policies concerning
                                                                  confidential and trade secret
13                                                                information, including with respect to
                                                                  hardware; the design, development, and
14                                                                operation of Waymo’s LiDAR systems,
                                                                  self-driving car project, and purported
15                                                                trade secrets; whether and to what
                                                                  extent the allegedly misappropriated
16                                                                files contain Waymo’s alleged trade
                                                                  secrets; Waymo’s awareness of the
17                                                                extent to which each of the alleged
                                                                  Waymo trade secrets selected for trial
18                                                                other than trade secret 25, or elements
                                                                  thereof, are known or practiced outside
19                                                                of Waymo; and Waymo’s knowledge
                                                                  of Odin Wave.
20    Fidric, Bernard         Waymo LLC                           Mr. Fidric is a hardware engineer at
                              1600 Amphitheatre Parkway           Waymo. He is expected to testify
21
                              Mountain View, CA 94043             regarding design, development, and
22                                                                operation of Waymo’s LiDAR systems,
                                                                  self-driving car project, and purported
23                                                                trade secrets and Waymo’s employee
                                                                  policies concerning confidential and
24                                                                trade secret information.
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 1    Witness                 Contact Information                 Trial Testimony
      French, Paul            465 California Street               Mr. French is an expert retained by
 2                                                                Waymo to testify regarding: (1) the
                              Suite 1400
 3                            San Francisco, CA 94104             forensic examination of Uber-issued
                              Phone: 415-321-8206                 devices and data and confirmation of
 4                                                                the absence of evidence of trade secret
                              Email: paul@discovia.com
                                                                  misappropriation through and during
 5                                                                compliance with the Court’s
                                                                  provisional remedy order and
 6                                                                (2) Waymo’s forensic investigation of
 7                                                                Anthony Levandowski, Radu Raduta,
                                                                  and Sameer Kshirsagar and Waymo’s
 8                                                                methods to protect its confidential
                                                                  information and intellectual property
 9                                                                (including trade secrets). He is
                                                                  expected to testify regarding the
10                                                                matters disclosed in his expert reports
11                                                                of September 14, 2017, November 17,
                                                                  2017, and January 13, 2018*.
12    Fulginiti, Mary         c/o Melanie M. Blunschi             Ms. Fulginiti was a managing director
                                                                  at Stroz Friedberg. She will testify
                              Latham & Watkins LLP
13                                                                regarding Stroz Friedberg’s
                              505 Montgomery Street               investigation and due diligence for
14                            Suite 2000                          Uber’s potential acquisition of
                              San Francisco, California 94111     Ottomotto and Otto Trucking, LLC,
15                                                                including with respect to the deletion of
                              (415) 391-0600                      the 14,000 downloaded files.
16    Gardner, John           c/o Rogers Joseph O’Donnell         Mr. Gardner is an attorney at Donahue
                              311 California Street, 10th         Fitzgerald. He is expected to testify
17                            Floor                               regarding representation of Anthony
                                                                  Levandowski; knowledge of Odin
18                            San Francisco, CA                   Wave LLC, Tyto LiDAR LLC, and
                                                                  Sandstone Group LLC; and Stroz due
19                                                                diligence for the Uber/Ottomotto
                                                                  acquisition.
20    Gassend, Blaise         Waymo LLC                           Mr. Gassend is a software engineer at
                              1600 Amphitheatre Parkway           Waymo. He is expected to testify
21                                                                regarding design, development, and
                              Mountain View, CA 94043
                                                                  operation of Waymo’s LiDAR systems,
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                                                                  self-driving car project, and purported
23                                                                trade secrets and Waymo’s employee
                                                                  policies concerning confidential and
24                                                                trade secret information.
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 1    Witness                 Contact Information                 Trial Testimony
      Grossman, William       Waymo LLC                           Mr. Grossman is a mechanical
 2                                                                engineer at Waymo. He is expected to
                              1600 Amphitheatre Parkway
                              Mountain View, CA 94043             testify regarding Waymo’s knowledge
 3
                                                                  of Defendants’ LiDAR design;
 4                                                                Waymo’s employee policies
                                                                  concerning confidential and trade
 5                                                                secret information; and Waymo’s
                                                                  receipt of correspondence containing
 6                                                                Defendants’ LiDAR design.
 7    Gruver, Dan             [Contact through counsel of         Mr. Gruver is a senior program
                              record]                             manager at Uber, responsible for
 8                                                                sensing systems for self-driving vehicle,
                              Uber Technologies, Inc.             and was formerly employed by Google.
 9                            1455 Market Street, Floor 4         He may testify regarding the design
                              San Francisco, CA 94103             and development of Defendants’
10                                                                LiDAR; Defendants’ non-
11                                                                misappropriation of Waymo’s trade
                                                                  secrets; nature of employment at
12                                                                Waymo; Waymo’s employee policies
                                                                  concerning confidential and trade
13                                                                secret information, including with
                                                                  respect to hardware; knowledge of the
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                                                                  Project Chauffeur bonus program; and
15                                                                confirmation of the absence of
                                                                  evidence of trade secret
16                                                                misappropriation through and during
                                                                  compliance with the Court’s
17                                                                provisional remedy order.
      Gudjunsson,             Waymo LLC                           Mr. Gudjunsson is Manager of Digital
18                                                                Forensics and Incident Management at
      Kristinn                1600 Amphitheatre Parkway
                                                                  Google. He is expected to testify
19                            Mountain View, CA 94043             regarding Waymo’s measures to
                                                                  protect the security of Waymo’s
20                                                                confidential documents, servers, and
                                                                  SVN repository; Waymo’s employee
21                                                                policies concerning confidential and
                                                                  trade secret information; and Waymo’s
22                                                                forensic investigation into alleged
                                                                  misappropriation of trade secret
23                                                                misappropriation, including his role in
                                                                  the investigation and the conclusions
24                                                                drawn from that investigation.
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 1    Witness                 Contact Information                 Trial Testimony
      Hesselink,              Spilker Building, Room 301          Dr. Hesselink is an expert retained by
 2    Lambertus                                                   Waymo to testify regarding
                              Stanford University                 Defendants’ alleged misappropriation
 3                            Stanford, California 94305          of Waymo’s trade secrets. He is
                              Phone: 415-269-7102                 expected to testify regarding the
 4                            Email: Bert@kaos.stanford.edu       matters disclosed in his expert reports
                                                                  of August 24, 2017, and
 5                                                                September 14, 2017, and his
                                                                  declaration of September 5, 2017.
 6    Holden, Jeff            [Contact through counsel of         Mr. Holden is Chief Product Officer at
                              record]                             Uber, responsible for product
 7                                                                development. He may testify regarding
                                                                  defendants’ business model and
 8                            Uber Technologies, Inc.             strategy for autonomous vehicles;
                              1455 Market Street, Floor 4         Defendants’ autonomous vehicle
 9                            San Francisco, CA 94103             program; Uber’s decision to acquire
                                                                  Ottomotto; and confirmation of the
10                                                                absence of evidence of trade secret
                                                                  misappropriation through and during
11                                                                compliance with the Court’s
                                                                  provisional remedy order.
12    Ingram, Ben             Waymo LLC                           Mr. Ingram is a systems engineer at
                              1600 Amphitheatre Parkway           Waymo. He is expected to testify
13
                              Mountain View, CA 94043             regarding the design, development, and
14                                                                operation of Waymo’s LiDAR systems,
                                                                  self-driving car project, and purported
15                                                                trade secrets; Waymo’s employee
                                                                  policies concerning confidential and
16                                                                trade secret information; and Waymo’s
                                                                  awareness of the extent to which
17
                                                                  alleged Waymo trade secret 25, or
18                                                                elements thereof, is known or practiced
                                                                  outside of Waymo.
19    Janosko, Michael                                            Mr. Janosko is a Security Engineering
                              Waymo LLC
                                                                  Manager at Google. He is expected to
20                            1600 Amphitheatre Parkway           testify regarding Waymo’s measures to
                              Mountain View, CA 94043             protect the security of Waymo’s
21                                                                confidential documents, servers, and
                                                                  SVN repository and Waymo’s
22                                                                employee policies concerning
                                                                  confidential and trade secret
23                                                                information.
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 1    Witness                 Contact Information                 Trial Testimony
      Juelsgaard, Soren       [Contact through counsel of         Mr. Juelshaard is a senior engineer at
 2                            record]                             Uber and previously worked at
                                                                  510 Systems. He may testify regarding
 3
                              Uber Technologies, Inc.             Stroz due diligence for the
 4                            1455 Market Street, Floor 4         Uber/Ottomotto acquisition;
                              San Francisco, CA 94103             Defendants’ non-misappropriation of
 5                                                                Waymo’s trade secrets; and
                                                                  confirmation of the absence of
 6                                                                evidence of trade secret
 7                                                                misappropriation through and during
                                                                  compliance with the Court’s
 8                                                                provisional remedy order.
      Kim, Rudy               Morrison & Foerster LLP             Mr. Kim is a partner at Morrison &
 9                            755 Page Mill Road                  Foerster LLP. He may testify
                              Palo Alto, CA 94304                 regarding the intellectual property due
10                                                                diligence for the Uber/Ottomotto
                              Phone: (650) 813-5600
11                                                                acquisition and inspection pursuant to
                                                                  the Court’s provisional remedy order.
12    Kintz, Gregory                                              Mr. Kintz is an expert retained by
                                                                  Waymo to testify regarding
13                                                                Defendants’ alleged misappropriation
                                                                  of Waymo’s trade secrets. He is
14
                                                                  expected to testify regarding the
15                                                                matters disclosed in his declarations of
                                                                  March 10, 2017, and April 21, 2017.
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 1    Witness                 Contact Information                 Trial Testimony
      Levandowski,            Contact through counsel:            Mr. Levandowski was former Vice
 2    Anthony                                                     President of Engineering at Uber,
 3                            Ismail Ramsey or Miles Ehrlich      co-founder of Ottomotto, and founder
                              Ramsey & Ehrlich LLP                of 510 Systems. He was also formerly
 4                                                                employed by Waymo. He is expected to
                              803 Hearst Avenue
                                                                  testify regarding the nature of his
 5                            Berkeley, CA 94710
                                                                  employment at Waymo and
                                                                  Defendants; design and development of
 6                                                                Defendants’ LiDAR; Defendants’
 7                                                                autonomous vehicle program;
                                                                  Defendants’ non-misappropriation of
 8                                                                Waymo’s trade secrets; business of
                                                                  Otto Trucking LLC; knowledge of
 9                                                                Odin Wave LLC and Tyto
                                                                  LiDAR LLC; Waymo’s employee
10                                                                policies concerning confidential and
11                                                                trade secret information, including with
                                                                  respect to hardware; knowledge of the
12                                                                Project Chauffeur bonus program;
                                                                  March 11, 2016 meeting with Anthony
13                                                                Levandowski; Stroz due diligence for
                                                                  the Uber/Ottomotto acquisition; and
14                                                                Uber’s security group (including SSG,
15                                                                MA, and Threat Operations) as it
                                                                  relates to Uber’s ATG*; Uber’s
16                                                                competitive intelligence practices*; and
                                                                  the use of non-attributable devices,
17                                                                ephemeral communications, and
                                                                  attorney-client privileged designations
18
                                                                  within Uber’s ATG*.
19    Linaval, Asheem         [Contact through counsel of         Mr. Linaval is an electrical engineer at
                              record]                             Uber and previously worked at
20                                                                510 Systems, Google, Odin Wave, and
                                                                  Tyto. He may testify regarding
                              Uber Technologies, Inc.             Defendants’ autonomous vehicle
21
                              1455 Market Street, Floor 4         program and confirmation of the
22                            San Francisco, CA 94103             absence of evidence of trade secret
                                                                  misappropriation through and during
23                                                                compliance with the Court’s
                                                                  provisional remedy order.
24    McCann, William         Waymo LLC                           Mr. McCann is a mechanical engineer
                              1600 Amphitheatre Parkway           at Waymo. He is expected to testify
25                            Mountain View, CA 94043             regarding design, development, and
                                                                  operation of Waymo’s LiDAR systems,
26                                                                self-driving car project, and purported
27                                                                trade secrets; and Waymo’s employee
                                                                  policies concerning confidential and
28                                                                trade secret information.
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 1    Witness                 Contact Information                 Trial Testimony
      Medford, Ron            Waymo LLC                           Mr. Medford is Waymo’s Director for
 2                                                                Safety. He is expected to testify
                              1600 Amphitheatre Parkway
                                                                  regarding safety assessments, public
 3                            Mountain View, CA 94043             policy, and regulatory work relating to
                                                                  autonomous vehicles, and involvement
 4                                                                in safety-related matters.
      Morgan, Rhian           [Contact through counsel of         Ms. Rhian is the Team Engagement
 5                            record]                             Coordinator at Uber and was formerly
                                                                  the human resources lead at Ottomotto.
 6                                                                She may testify regarding hiring and
                              Uber Technologies, Inc.             onboarding process for Uber and
 7                            1455 Market Street, Floor 4         Ottomotto, including hiring
                              San Francisco, CA 94103             agreements; steps taken by Defendants
 8                                                                to prevent trade secrets from prior
                                                                  employers of Defendants’ employees
 9                                                                coming to Defendants; and
                                                                  confirmation of the absence of
10                                                                evidence of trade secret
                                                                  misappropriation through and during
11                                                                compliance with the Court’s
                                                                  provisional remedy order.
12    Morriss, Zachary        Waymo LLC                           Mr. Morriss is a mechanical engineer
                              1600 Amphitheatre Parkway           at Waymo and previously worked at
13
                              Mountain View, CA 94043             Anthony’s Robots. He is expected to
14                                                                testify regarding Waymo’s employee
                                                                  policies concerning confidential and
15                                                                trade secret information; and the
                                                                  design, development, and operation of
16                                                                Waymo’s LiDAR systems, self-driving
                                                                  car project, and purported trade secrets.
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 1    Witness                 Contact Information                 Trial Testimony
      Padilla, Angela         [Contact through counsel of         Ms. Padilla is Associate General
 2                            record]                             Counsel for Litigation and Employment
                                                                  at Uber. She may testify regarding the
 3                                                                termination of Anthony Levandowski;
                              Uber Technologies, Inc.             Stroz due diligence for the
 4                            1455 Market Street, Floor 4         Uber/Ottomotto acquisition;
                              San Francisco, CA 94103             confirmation of the absence of
 5                                                                evidence of trade secret
                                                                  misappropriation through and during
 6                                                                compliance with the Court’s
                                                                  provisional remedy order; Anthony
 7                                                                Levandowski’s claim that he
                                                                  downloaded and retained alleged
 8                                                                misappropriated materials to facilitate
                                                                  bonus payment(s) from Waymo; the
 9                                                                investigation and her knowledge of
                                                                  allegations in the April 14, 2017
10                                                                resignation email from Richard Jacobs
                                                                  and May 5, 2017 demand letter from
11                                                                his attorney*; Uber’s practices
                                                                  regarding non-attributable devices,
12                                                                competitive intelligence, ephemeral
                                                                  communications, and attorney-client
13                                                                privileged designations*; and
                                                                  involvement in and knowledge of
14                                                                Uber’s data retention policies and
                                                                  programs.*
15    Palomar, Matthew        [Contact through counsel of         Mr. Palomar is a hardware engineer at
                              record]                             Uber and was previously an engineer
16                                                                at Tyto. He may testify regarding the
                                                                  design and development of Defendants’
17                            Uber Technologies, Inc.             LiDAR; Defendants’ non-
                              1455 Market Street, Floor 4         misappropriation of Waymo’s trade
18                            San Francisco, CA 94103             secrets; and confirmation of the
                                                                  absence of evidence of trade secret
19                                                                misappropriation through and during
                                                                  compliance with the Court’s
20                                                                provisional remedy order.
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 1    Witness                 Contact Information                 Trial Testimony
      Pennecot, Gaetan        [Contact through counsel of         Mr. Pennecot is a hardware engineer
 2                            record]                             at Uber. He formerly worked as a
                                                                  hardware engineer at 510 Systems and
 3                                                                Google. He may testify regarding the
                              Uber Technologies, Inc.             design and development of Defendants’
 4                            1455 Market Street, Floor 4         LiDAR; Defendants’
                              San Francisco, CA 94103             non-misappropriation of Waymo’s
 5                                                                trade secrets; nature of employment at
                                                                  Waymo; Waymo’s employee policies
 6                                                                concerning confidential and trade
                                                                  secret information, including with
 7                                                                respect to hardware; knowledge of the
                                                                  Project Chauffeur bonus program; and
 8                                                                confirmation of the absence of
                                                                  evidence of trade secret
 9                                                                misappropriation through and during
                                                                  compliance with the Court’s
10                                                                provisional remedy order.
      Qi, Nina                [Contact through counsel of         Ms. Qi is the former Senior Manager of
11                            record]                             Corporate Development at Uber. She
                                                                  may testify regarding defendants’ non-
12                                                                misappropriation of Waymo’s trade
                              Uber Technologies, Inc.             secrets; business of Otto
13                            1455 Market Street, Floor 4         Trucking LLC; Uber’s decision to
                              San Francisco, CA 94103             acquire Ottomotto; March 11, 2016
14                                                                meeting with Anthony Levandowski;
                                                                  and confirmation of the absence of
15                                                                evidence of trade secret
                                                                  misappropriation through and during
16                                                                compliance with the Court’s
                                                                  provisional remedy order.
17    Sebern, Colin           [Contact through counsel of         Mr. Sebern works on vehicle-building
                              record]                             and calibration at Uber and previously
18                                                                worked at Ottomotto and Google. He
                                                                  may testify regarding Stroz due
19                            Uber Technologies, Inc.             diligence for the Uber/Ottomotto
                              1455 Market Street, Floor 4         acquisition; Defendants’ non-
20                            San Francisco, CA 94103             misappropriation of Waymo’s trade
                                                                  secrets; and confirmation of the
21                                                                absence of evidence of trade secret
                                                                  misappropriation through and during
22                                                                compliance with the Court’s
                                                                  provisional remedy order.
23    Stojanowski, Ognen      [Contact through counsel of         Mr. Stojanowski is Head of Policy and
                              record]                             Government Relations at Uber. He
24                                                                may testify regarding knowledge of
                                                                  Odin Wave LLC, Tyto LiDAR LLC,
25                            Uber Technologies, Inc.             and Sandstone Group LLC, and
                              1455 Market Street, Floor 4         confirmation of the absence of
26                            San Francisco, CA 94103             evidence of trade secret
                                                                  misappropriation through and during
27                                                                compliance with the Court’s
                                                                  provisional remedy order.
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 1    Witness                 Contact Information                 Trial Testimony
      Suhr, Justin            [Contact through counsel of         Mr. Suhr is a Legal Director at Uber,
 2                            record]                             specializing in employment issues. He
                                                                  may testify regarding Stroz due
 3                                                                diligence for the Uber/Ottomotto
                              Uber Technologies, Inc.             acquisition; Uber’s decision to acquire
 4                            1455 Market Street, Floor 4         Ottomotto and structure of the
                              San Francisco, CA 94103             acquisition; and confirmation of the
 5                                                                absence of evidence of trade secret
                                                                  misappropriation through and during
 6                                                                compliance with the Court’s
                                                                  provisional remedy order.
 7    Tate, Eric              Morrison & Foerster LLP             Mr. Tate is a partner at Morrison &
                              425 Market Street                   Foerster LLP. He may testify
 8                            San Francisco, CA 94105             regarding the Stroz due diligence for
                              Phone: (415) 268-7000               the Uber/Ottomotto acquisition* and
 9                                                                confirmation of the absence of
                                                                  evidence of trade secret
10                                                                misappropriation through and during
                                                                  compliance with the Court’s
11                                                                provisional remedy order.
      Thrun, Sebastian                                            Mr. Thrun is Chief Executive Officer of
12                                                                Kitty Hawk Corporation and formerly
                                                                  head of Waymo and Google[x]. He is
13                            Contact through counsel:            expected to testify regarding
                              Christopher B. Hockett              development and operation of
14                            Davis Polk & Wardwell LLP           Waymo’s autonomous vehicle
                              1600 El Camino Real                 program; Anthony Levandowski’s
15                            Menlo Park, CA 94025                departure from Waymo; Waymo’s
                              Phone: (650) 752-2009               employee policies concerning
16                            Email:                              confidential and trade secret
                              chris.hockett@davispolk.com         information; Waymo’s policies
17                                                                surrounding side projects and side
                                                                  businesses; knowledge of Waymo
18                                                                employee involvement in side projects
                                                                  and side businesses, including that of
19                                                                Anthony Levandowski; knowledge of
                                                                  the Project Chauffeur bonus program,
20                                                                and his introduction of Travis Kalanick
                                                                  to Mr. Levandowski.
21    Ulrich, Drew            Waymo LLC                           Mr. Ulrich is a mechanical engineer at
                              1600 Amphitheatre Parkway           Waymo, and previously work at 510
22
                              Mountain View, CA 94043             Systems. He is expected to testify
23                                                                regarding Waymo’s employee policies
                                                                  concerning confidential and trade
24                                                                secret information and the design,
                                                                  development, and operation of
25                                                                Waymo’s LiDAR systems and self-
26                                                                driving car project.

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 1    Witness                 Contact Information                 Trial Testimony
      Wachter, Luke           Waymo LLC                           Mr. Wachter is a software engineer at
 2                                                                Waymo and previously worked at
                              1600 Amphitheatre Parkway
                              Mountain View, CA 94043             510 Systems. He is expected to testify
 3
                                                                  regarding the design, development, and
 4                                                                operation of Waymo’s LiDAR systems,
                                                                  self-driving car project, and purported
 5                                                                trade secrets and Waymo’s employee
                                                                  policies concerning confidential and
 6                                                                trade secret information.
 7    Willis, Tim             Waymo LLC                           Mr. Willis is Head of Global Supply at
                              1600 Amphitheatre Parkway           Waymo. He is expected to testify
 8                            Mountain View, CA 94043             regarding Waymo’s supply chain
                                                                  operations and Waymo’s employee
 9                                                                policies concerning confidential and
10                                                                trade secret information.
      Adkins, Heather*        Waymo LLC                           Heather Adkins is the director of
11
                              1600 Amphitheatre Parkway           information security and privacy at
12                            Mountain View, CA 94043             Google. Ms. Adkins may testify
                                                                  regarding Google and Waymo’s use of
13                                                                non-attributable or mis-attributable
                                                                  devices; and Google and Waymo’s
14                                                                competitive intelligence gathering and
                                                                  market analysis.
15
      Gicinto, Nick*          [Contact through counsel of         Nick Gicinto works in Uber’s security
16                            record]                             group. Mr. Gicinto may testify
                                                                  regarding Uber’s security group’s
17                            Uber Technologies, Inc.             practices regarding non-attributable
                              1455 Market Street, Floor 4         devices, ephemeral communications,
18                                                                and attorney-client privileged
                              San Francisco, CA 94103
19                                                                designations; Uber’s competitive
                                                                  intelligence practices; relationship and
20                                                                interaction with Uber ATG.
      Haimovici, Randy*       [Contact through counsel of         Randy Haimovici is a director in
21                            record]                             Uber’s litigation department. Mr.
                                                                  Haimovici may testify regarding the
22                                                                investigation and his knowledge of
                              Uber Technologies, Inc.             allegations in the April 14, 2017
23                            1455 Market Street, Floor 4         resignation email from Richard Jacobs
                              San Francisco, CA 94103             and May 5, 2017 demand letter from
24                                                                his attorney; Uber’s practices regarding
                                                                  non-attributable devices, competitive
25                                                                intelligence, ephemeral
                                                                  communications, and attorney-client
26                                                                privileged designations; and Uber’s
                                                                  data retention policies and programs.
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 1    Witness                 Contact Information                 Trial Testimony
      Henley, Mathew*         [Contact through counsel of         Mathew Henley works in Uber’s
 2                            record]                             security group. Mr. Henley may testify
                                                                  regarding Uber’s security group’s
 3
                              Uber Technologies, Inc.             practices regarding non-attributable
 4                            1455 Market Street, Floor 4         devices, ephemeral communications,
                              San Francisco, CA 94103             and attorney-client privileged
 5                                                                designations; Uber’s competitive
                                                                  intelligence practices; relationship and
 6                                                                interaction with Uber ATG.
 7    Jacobs, Richard*        Boersch Shapiro                     Richard Jacobs previously worked in
                              1611 Telegraph Avenue, Suite        Uber’s security group. Mr. Jacobs may
 8                            806                                 testify concerning the allegations in his
                              Oakland, CA 94612                   April 14, 2017 resignation email and
 9                                                                the May 5, 2017 demand letter from his
                                                                  attorney; security group’s practices
10                                                                regarding non-attributable devices,
11                                                                ephemeral communications, and
                                                                  attorney-client privileged designations;
12                                                                Uber’s competitive intelligence
                                                                  practices; relationship and interaction
13                                                                with Uber ATG.
      Johnston, Scott*        Waymo LLC                           Scott Johnston is the Director of
14
                              1600 Amphitheatre Parkway           Product Management at Google. Mr.
15                            Mountain View, CA 94043             Johnston may testify regarding Waymo
                                                                  and Google’s use of and policy
16                                                                regarding ephemeral communications,
                                                                  including “off the record” chats in
17                                                                electronic chat programs and apps; and
                                                                  Google and Waymo’s policies
18
                                                                  regarding the retention of electronic
19                                                                communications.
      Majalya, Sidney*        [Contact through counsel of         Sidney Majalya is a director in Uber’s
20                            record]                             compliance group. Mr. Majalya may
                                                                  testify regarding the investigation and
21                                                                his knowledge of allegations in the
                              Uber Technologies, Inc.             April 14, 2017 resignation email from
22                            1455 Market Street, Floor 4         Richard Jacobs and May 5, 2017
                              San Francisco, CA 94103             demand letter from his attorney; Uber’s
23                                                                practices regarding non-attributable
                                                                  devices, competitive intelligence,
24                                                                ephemeral communications, and
                                                                  attorney-client privileged designations.
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 1    Witness                 Contact Information                 Trial Testimony
      Maher, Kevin*           [Contact through counsel of         Kevin Maher works in Uber’s security
 2                            record]                             group. Mr. Maher may testify
                                                                  regarding Uber’s security group’s
 3
                              Uber Technologies, Inc.             practices regarding non-attributable
 4                            1455 Market Street, Floor 4         devices, ephemeral communications,
                              San Francisco, CA 94103             and attorney-client privileged
 5                                                                designations; Uber’s competitive
                                                                  intelligence practices; relationship and
 6                                                                interaction with Uber ATG.
 7    Nocon, Jake*            [Contact through counsel of         Jake Nocon works in Uber’s security
                              record]                             group. Mr. Nocon may testify
 8                                                                regarding Uber’s security group’s
                              Uber Technologies, Inc.             practices regarding non-attributable
 9                            1455 Market Street, Floor 4         devices, ephemeral communications,
                              San Francisco, CA 94103             and attorney-client privileged
10                                                                designations; Uber’s competitive
11                                                                intelligence practices; relationship and
                                                                  interaction with Uber ATG.
12    Russo, Edward*          [Contact through counsel of         Edward Russo works in Uber’s security
                              record]                             group. Mr. Russon may testify
13                                                                regarding Uber’s security group’s
                              Uber Technologies, Inc.             practices regarding non-attributable
14
                              1455 Market Street, Floor 4         devices, ephemeral communications,
15                            San Francisco, CA 94103             and attorney-client privileged
                                                                  designations; Uber’s competitive
16                                                                intelligence practices; relationship and
                                                                  interaction with Uber ATG.
17    Spiegler, Joe*          [Contact through counsel of         Joe Spiegler was previously Uber’s
                              record]                             Chief Compliance Officer. Mr.
18                                                                Spiegler may testify regarding the
                                                                  investigation and his knowledge of
19                            Uber Technologies, Inc.             allegations in the April 14, 2017
                              1455 Market Street, Floor 4         resignation email from Richard Jacobs
20                            San Francisco, CA 94103             and May 5, 2017 demand letter from
                                                                  his attorney; Uber’s practices regarding
21                                                                non-attributable devices, competitive
                                                                  intelligence, ephemeral
22                                                                communications, and attorney-client
                                                                  privileged designations.
23

24
      Stewart, Shaun*         Waymo LLC                           Shaun Stewart is Waymo’s Director of
25                            1600 Amphitheatre Parkway           Operations. Mr. Stewart may testify
                              Mountain View, CA 94043             regarding Google and Waymo’s
26                                                                surveillance of competitors.
27
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 1    Witness                 Contact Information                 Trial Testimony
      Sullivan, Joe*          Angeli Law Group LLC                Joe Sullivan was previously the Chief
 2                            121 SW Morrison Street              Security Officer at Uber. Mr. Sullivan
                              Suite 400                           may testify regarding Uber’s security
 3
                              Portland, OR 97204                  group’s practices regarding non-
 4                                                                attributable devices, ephemeral
                                                                  communications, and attorney-client
 5                                                                privileged designations; Uber’s
                                                                  competitive intelligence practices;
 6                                                                relationship and interaction with Uber
 7                                                                ATG.
      Yoo, Salle*             [Contact through counsel of         Salle Yoo is the former Chief Legal
 8                            record]                             Officer, General Counsel, and
                                                                  Corproate Secretary for Uber. Ms.
 9                            Uber Technologies, Inc.             Yoo may testify regarding the
                              1455 Market Street, Floor 4         investigation and her knowledge of
10                                                                allegations in the April 14, 2017
                              San Francisco, CA 94103
11                                                                resignation email from Richard Jacobs
                                                                  and May 5, 2017 demand letter from
12                                                                his attorney; Uber’s practices regarding
                                                                  non-attributable devices, competitive
13                                                                intelligence, ephemeral
                                                                  communications, and attorney-client
14
                                                                  privileged designations; Involvement in
15                                                                and knowledge of Uber’s data retention
                                                                  policies and programs.
16
             Uber reserves the right to call any witness identified by Waymo. The above descriptions
17
      are not intended to cover every possible topic or sub-topic on which these witnesses may testify
18
      and are made without prejudice to Uber eliciting other testimony, including without limitation
19
      testimony regarding matters addressed during the deposition of a given witness.
20
      II.    DEPOSITION TESTIMONY
21
             Uber reserves the right to present the deposition testimony of Waymo’s managing agents
22
      and 30(b)(6) designees (i.e., Gary Brown, Pierre-Yves Droz, Dmitri Dolgov, Michael Xing,
23
      Joanne Chin, David Lawee, Jennifer Haroon, Ben Ingram, Aslan (Shawn) Bananzadeh, Shaun
24
      Stewart, Scott Johnston, and Heather Adkins), in addition to or in lieu of their live testimony.
25
      Uber also reserves the right to present the deposition testimony of any witnesses listed above to
26
      the extent permitted by Federal Rule of Civil Procedure 32.
27
             Uber may present testimony from the following additional witnesses by deposition:
28
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 1    Witness                  Contact Information         Trial Testimony
      Bares, John              [Contact through counsel of Mr. Bares is the former Operations
 2                             record]                     Director at Uber’s Advanced
                                                           Technologies Group. Uber may present
 3
                               Uber Technologies, Inc.     his deposition testimony regarding design
 4                             Advanced       Technologies and development of Defendants’ LiDAR;
                               Center                      Defendants’ autonomous vehicle program;
 5                             100 32nd St, Pittsburgh, PA Defendants’ non-misappropriation of
                               15201                       Waymo’s trade secrets; Defendants’
 6                                                         business model and strategy for
 7                                                         autonomous vehicles; Uber’s decision to
                                                           acquire Ottomotto; steps taken by
 8                                                         Defendants to prevent trade secrets from
                                                           prior employers of Defendants’
 9                                                         employees coming to Defendants; and
                                                           confirmation of the absence of evidence
10                                                         of trade secret misappropriation through
11                                                         and during compliance with the Court’s
                                                           provisional remedy order.
12    Brin, Sergey             Alphabet Inc.               Mr. Brin is a co-founder of Google and
                               1600 Amphitheatre           President of Google’s parent company,
13                             Parkway                     Alphabet Inc. Uber may present his
14                             Mountain View, CA 94043 deposition testimony regarding
                                                           development and operation of Waymo’s
15                                                         autonomous vehicle program; Anthony
                                                           Levandowski’s departure from Waymo;
16                                                         Waymo’s policies surrounding side
                                                           projects and side businesses; and
17                                                         knowledge of Waymo employee
                                                           involvement in side projects and side
18
                                                           businesses, including that of Anthony
19                                                         Levandowski.
      Drummond, David          Alphabet Inc.               Mr. Drummond is Senior Vice President
20                             1600 Amphitheatre           of Corporate Development at
                               Parkway                     Alphabet Inc., Google’s parent company,
21
                               Mountain View, CA 94043 and previously served on Uber’s board of
22                                                         directors while employed by Alphabet Inc.
                                                           Uber may present his deposition
23                                                         testimony regarding Waymo’s knowledge
                                                           of Defendants’ autonomous vehicle
24                                                         program; knowledge of Waymo’s
                                                           discussions with Defendants regarding a
25                                                         partnership with Defendants in the self-
26                                                         driving vehicle/ride-sharing space.

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 1    Witness                       Contact Information                   Trial Testimony
      Page, Larry                   Alphabet Inc.                         Mr. Page is Google’s co-founder and
 2                                                                        Chief Executive Office of Google’s parent
                                    1600 Amphitheatre
                                    Parkway                               company, Alphabet Inc.
 3                                                                        Uber may present his deposition
                                    Mountain View, CA 94043
                                                                          testimony regarding development and
 4                                                                        operation of Waymo’s autonomous
 5                                                                        vehicle program; Anthony Levandowski’s
                                                                          departure from Waymo; Waymo’s
 6                                                                        policies surrounding side projects and side
                                                                          businesses; knowledge of Waymo
 7                                                                        employee involvement in side projects
                                                                          and side businesses, including that of
 8
                                                                          Anthony Levandowski; Waymo’s
 9                                                                        business plans; knowledge of discussions
                                                                          with Defendants regarding a partnership
10                                                                        with Defendants in the self-driving
                                                                          vehicle/ride-sharing space; and knowledge
11                                                                        of the Project Chauffeur bonus program,
                                                                          and his concerns about competition from
12
                                                                          Uber and Anthony Levandowski.
13             Uber reserves the right to designate testimony from any witness identified by Waymo.
14    The above descriptions are not intended to cover every possible topic or sub-topic on which Uber
15    may offer deposition excerpts and are made without prejudice to Uber offering other testimony.
16

17
      Dated: January 19, 2018                               MORRISON & FOERSTER LLP
18

19
                                                            By:       /s/ Arturo J. González
20                                                                ARTURO J. GONZÁLEZ

21                                                                Attorneys for Defendants
                                                                  UBER TECHNOLOGIES, INC.
22                                                                and OTTOMOTTO LLC

23

24    * As explained in Defendants’ Response to Waymo’s Offer of Proof, Defendants object to Waymo offering evidence
      regarding the allegations made by Richard Jacobs. Defendants only identify the witnesses and trial testimony marked
25    with an asterisk to the extent the Court disagrees and to the extent the topics fall within the subjects the Court permits
      at trial.
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